1. The contentions of the plaintiff in habeas corpus, that he was entitled to his release, on the ground that he had been granted a pardon "conditioned upon his obeying all the laws of this State, of the United States and of any other State, and further that this conditioned pardon shall be revocable at the pleasure of the Governor", were not sustainable, it appearing that the prisoner was held under a warrant issued by the judge after hearing evidence which justified the court in finding that the conditions under which the pardon was granted had been violated. Muckle v. Clarke, 191 Ga. 202 (12 S.E.2d 339);  Huff v. Aldredge, 192 Ga. 12 (14 S.E.2d 456);  Muckle v. Aldredge, 192 Ga. 426 (15 S.E.2d 605);  Allman v. Aldredge, 192 Ga. 431 (15 S.E.2d 710);  Moore v. Lawrence, 192 Ga. 441 (15 S.E.2d 519);  Pippin v. Johnson, 192 Ga. 450 (15 S.E.2d 712);  Pappas v. Aldredge, 192 Ga. 482 (15 S.E.2d 718);  Derricott v. Aldredge, 192 Ga. 749 (16 S.E.2d 561).
2. It was not erroneous to refuse the application.
Judgment affirmed. All the Justicesconcur.
                       No. 14118. APRIL 15, 1942.
George Muckle, in his application for the writ of habeas corpus, alleged that he was illegally detained by the sheriff in the jail of Fulton County by reason of an order signed by Judge Wood, of the criminal court of Fulton County, purporting to revoke a conditional pardon on the ground that the applicant had violated a condition of the pardon; that there are now pending in said criminal court three accusations in which he is charged with the alleged offense of speeding; that upon these cases being called for trial, and before any issue on said charges was joined by him or his counsel, a purported hearing was had, to determine whether or not he had violated any of the conditions of said pardon; and after hearing evidence upon said accusations Judge Wood passed an order purporting to revoke said conditional pardon. The applicant alleged that he had not been tried on said accusations, nor had he been convicted of any crime against the laws of this or any other State in violation of any conditions of said pardon, not having been afforded a trial by jury on said accusations in order to determine his guilt or innocence, or whether any of the conditions of said pardon had been violated. The judge of the superior court denied the application, and Muckle excepted.